           Case: 3:20-cv-00306-WHR-MJN Doc #: 5 Filed: 10/21/20 Page: 1 of 1 PAGEID #: 37
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Ohio

                      Robert L. Atkinson                             )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 3:20-CV-306
                         Toni Atkinson                               )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              Pro Se Plaintiff's Complaint is Dismissed without Prejudice Pursuant to 28 U.S.C. § 1915

                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge          Rice                                                               on a motion for
      Report and Recommendations
                                                                                                                                     .

Date:      10/21/2020                                                       CLERK OF COURT



                                                                                          Signature of Clerk or Deputy Clerk
